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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
_______________________________
                                   )
JUDICIAL WATCH, INC.,              )
                                   )
      Plaintiff,                   )
                                   )
v.                                 ) Civil Action No. 18-02563 APM
                                   )
DEPARTMENT OF JUSTICE,             )
                                   )
      Defendant.                   )
                                   )


                                   JOINT STATUS REPORT

       Pursuant to this Court’s Order, the parties provide the following update.

Defendant, as of the date of this filing has reviewed approximately 9,837 pages and released 198.

In December 2021 the FBI reviewed in which the FBI reviewed 500 pages and released 0.

Defendant has planned another release within 30 days of this filing. The Parties request to be

allowed to file a Joint Status report on or before February 14, 2022.




Dated: January 12, 2022



                                              Respectfully Submitted,


                                              /s/ James F. Peterson
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